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                            Exhibit D
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Jeff Rambin

From:                       Jeff Rambin
Sent:                       Wednesday, January 20, 2010 2:42 PM
To:                         'Dan_Herp@playstation.sony.com'
Subject:                    CSIRO Subpoena
Attachments:                Order Denying AMD motion to Quash.pdf; 10-06-05 Kamatani Benq TJW Order.pdf




Thanks for giving me a call. Thanks to Jennifer Liu as well. Here is an order where a party relied on the combination of a
registered agent for service of process in Texas and the federal rule's invocation of state subpoena range.

That said, the location of the deposition was never the stumbling block here. In our phone and email conversations.I.ve
reiterated what the notice itself says: we can work out an agreed location.

Based on the phone conversation today there are other issues that make the deposition a non-starter for Sony
Computer Entertainment America. Likewise, our prior conversations have revealed a difference of opinion on whether
SCEA is in a position to authenticate the publicaliy available information of its corporate peers and superiors. I believe
that I have already forwarded authority on this point to you, but I attach it again here. See Kamatani, p. 9.

If SCEA's position has changed, leaving deposition location as the sole outstanding issue, please let me know.

Thanks again,

Jeff

Jeff Rambin
CAPSHAW DERIEUX, LLP
220 Energy Centre
1127 Judson Road
Longview, TX 75606
Direct: (903) 233-4830
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    MICROUNITY SYSTEMS ENGINEERING, §
    INC.,                             §
          Plaintiff,                  §
                                      § CIVIL ACTION NO. 2-04-CV-120 (TJW)
    v.                                §
                                      §
    DELL, INC. and INTEL CORPORATION, §
          Defendants.                 §

                                                ORDER

           Before the Court is Advanced Micro Devices' ("AMD") Motion to Quash the Rule 30(b)( 6)

    Witness Subpoena (Doc. # 81). Having considered the submissions and arguments of counsel, the

    Court finds thatAMD was properly served with the Rule 30(b)(6) subpoena. Thus, AMD's motion

    to quash is DENIED.

           IT IS THEREFORE ORDERED that AMD shall notify the court by 3 :00 p.m. on August 9,

    2005, whether it elects to produce its witnesses for deposition in Travis, Dallas, or Smith County,

    Texas. Absent any notification from AMD, the deposition will proceed in Smith County, Texas, at

    the office of Ramey & Flock, P.C. at a time to be agreed upon by counsel. In the absence of an

    agreement, Intel shall proceed to take the deposition pursuant to the Federal Rules of Civil

    Procedure consistent with the Court's directive.

           SIGNED this 5th day of August, 2005.




                                                 UNITED STATES DISTRICT JUDGE
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                             IN THE UNITED STATES DISTRICT COURT

                              FOR THE EASTERN DISTRICT OF TEXAS

                                         MARSHALL DIVISION



    YASUO KAMATANI, ET AL.                            §

    Vs.                                               §           CIVIL ACTION NO. 2:03-CV-437

    BENQ CORPORATION, ET AL.                          §




                      AMENDED MEMORANDUM OPINION AND ORDER!

    1.      Introdnction.

            In this patent infringement case, the plaintiffs, Yasuo Kamatani and Laserdynamics, Inc.,

    sued the defendants, BenQ Corporation and BenQ of America Corporation for infringement of

    United States Patent No.5, 587,981.' Thepatent-in-suit claims methods for discriminating between

    different types of optical disks inserted into an optical disk drive by reading total of contents data

    or processing an optical signal. Various discovery motions have been filed, numerous hearings

    heard, and multiple sanctions entered in this battle-ridden case.

            On August 30-31, 2005, this Court held a Show Cause Hearing addressing new discovery

    abuses alleged by the plaintiffs against the defendants. Prior to the Court's Show Cause Hearing of



               This Amended Memorandum Opinion and Order is identical to the Memorandum and
    Order entered on October 4, 2005 with the exception that prior footnote 7 has been deleted and
    the Court has included a deadline for payment of the monetary sanction described on page 27 of
    this Amended Memorandum Opinion and Order. That portion of prior footnote 7 which
    appeared in the October 4, 2005, Memorandum Opinion and Order was a typographical error.

           , Unless otherwise noted, the court will refer to the defendants collectively as
    "defendants" or "BenQ."
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    August 30-31, 2005, this Court had already held three separate discovery heariugs and issued

    sanctions against the defendants on two separate occasions.

                  At the Show Cause Hearing, BenQ proffered witnesses to address discovery disputes

    relating to the eleventh hour identification of new DVD products and the production, or lack thereof,

    of technical documents from non-parties Philips and Pioneer. In light of the testimony and

    documents provided by BenQ, this Court issues this opinion and order entering severe sanctions

    against BenQ for blatant and extensive discovery violations far in excess of anything this Court has

    ever enconntered. In light of the severity ofthe sanctions this Court is issuing, the Court will reconnt

    the history ofthe discovery disputes and will set forth the Court's specific findings and the sanctions

    the Court has previously ordered, culminating with the Show Cause Hearing held on August 30-31,

    2005. 3

    2.        Procedural History and Prior Hearings.

              The court held a scheduling conference in this case on September 14, 2004. At the

    Scheduling Conference, the Court explained to BenQ's attorneys that this Court's mandatory

    disclosure requirements in the Court's Amended Discovery Order were far in excess of what was

    required under the Federal Rules of Civil Procedure. BenQ's connsel stated that they had no

    objections or requests for modifications of these mandatory disclosure requirements. Accordingly,

    the Court signed and entered the Amended Discovery Order to govern discovery in this case.

              The discovery process began after the scheduling conference with certain disclosures due

    30 days after the conference, and the bulk of documentary disclosures due 45 days after the

    conference or as otherwise set forth in the Court's patent rules. The discovery disputes in this case


              3   The Court's prior [mdings are incorporated by reference.

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    began to snrface as early as November, 2004.

           The parties focused their efforts by addressing correspondence to the court and to each other

    which revealed several disputes, including the issue whether the defendants needed to produce

    certain documents under the Court's discovery order and whether the defendants had appropriately

    responded to interrogatories. On February 4,2005, the court held the first of its three hearings. At

    this hearing, the plaintiff addressed the following issues: (l) the defendants' failnre to comply with

    the discovery order; (2) the defendants' use of Rule 33(d) to answer interrogatories; (3) the

    defendants' refusal to respond to contention discovery; (4) the imposition of an artificial time

    horizon (2001) before which the defendants refused to produce financial infonnation; (5) the

    defendants' resistance to providing certain other financial discovery in interrogatories; (6) the

    defendants' refusal to produce samples of the drives; and (7) the defendants' refusal to produce

    documents relating to drives pnrchased from Pioneer and Philips and drives BenQ jointly designed

    with Philips through a BenQ/Philips ventnre known as PBDS.

           The relevance of the PBDS documents has been described in prior orders. PBDS possesses

    many relevant technical documents showing the operation of several of the accused drives. Thus,

    documents in the control of BenQ through its participation in PBDS were relevant for purposes of

    infringement and for assessing the operation of accused products. But documents relating to the

    formation and operation of the PBDS joint ventnre were relevant for other reasons as well. The

    procednral history of this case illustrates why.

           On October 14, 2004, BenQ filed a third-party claim against PBDS and Philips. On

    November 16, 2004, BenQ dismissed its third-party suit against Philips and PBDS and, on January

    26, 2005, moved for partial sunrmary judgment. In the motion for summary judgment, BenQ raised


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    a license defense based on a licensing agreement between Philips and LaserDynamics. Under the

    license agreement, the plaintiffs covenanted not to sue the customers of Philips and its subsidiaries

    for infringement of the patent-in-suit.

           The agreement defines a subsidiary as a company owned at least 51 % by Philips. Philips

    owns 51 % ofPBDS, although Philips and BenQ did not formPBDS until after the effective date of

    the PhilipslLaserDynamics license agreement. BenQ has repeatedly asserted, inaccurately it turns

    out, that it purchases all of the optical disk drives sold in the United States from PBDS. Therefore,

    according to BenQ, it is a customer of a Philips subsidiary under the terms of the license agreement

    and is entitled to the benefit of the covenant not to sue.

           In response to the motion for surumary judgment, the plaintiff maintained that the PBDS joint

    venture is a sham through which BenQ [lIst sells optical disk drives to the joint venture and then re-

    purchases those drives from the joint venture to create customer status under the

    PhilipslLaserDynamics license agreement.         The plaintiffs assert that this arrangement is an

    impermissible sub-license, and therefore BenQ is not covered by the terms of the

    Philips/Laserdynamics license agreement. As the Court previously found, documents related to the

    formation of the PBDS joint venture, the performance of the parties under the terms of the joint

    venture, and the relationship of between BenQ and Philips are unquestionably relevant for discovery

    purposes.

            By the conclusion ofthe February 4,2005, hearing, the Court had issued a modest sanction.

    It entailed a finding that the defendants were sanctioned for the record, based on subsidiary findings

    that the defendants had engaged in discovery abuse by delaying production and by taking various

    untenable positions. Among these positions was the argument, reflected in the papers, that the


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    defendants objected to providing "backup" financial information on the grounds that the term

    "backup" was vague and that the defendants believed they were not under an obligation to produce

    documents under the Court's amended discovery order. Mindful of the law governing discovery

    sanctions, the court issued the least sanction possible - a finding that the conduct was sanctionable.

    The Court accepted counsel's representations that document disclosures would be made full and

    complete and that interrogatory answers would be supplemented immediately. The Court overruled

    all objections to discovery exceptthose asserting a privilege. The Court also required the defendants

    to file verifications that they had conducted diligent searches for the requested information and had

    produced the requested information. Finally, the Court warned defendants that a failure to comply

    with discovery obligations going forward could lead to a judgment being entered against them. The

    Court then recessed the hearing until March 2, 2005, to allow the defendants an opportunity to bring

    themselves into compliance with the Court's orders.

           On March 2, 2005, the Court held a second discovery hearing. Among the items at issue in

    the March 2nd hearing was whether the defendants had produced documents relating to the PBDS

    joint venture and whether the defendants had produced documents related to the dismissal of a third-

    party claim in this Court filed by BenQ against PBDS and Philips. In addition, the plaintiffs

    complained that the defendants had not explained fully their efforts to obtain technical documents

    from Pioneer and Philips in the verifications filed with the court.

           With respect to the documents relating to the PBDS joint venture, the plaintiffs challenged

    the sufficiency of the defendants' production. As an example, the plaintiffs pointed out that the

    defendants had produced only an unsigned copy of a Memorandum of Understanding relating to the

    PBDS joint venture. The actual PBDS joint venture agreement explicitly stated that a binding MOU


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    had been concluded between the parties and the plaintiffs were skeptical that the joint venture

    agreement would expressly refer to a contractual document which had not been executed. Again,

    all of the PBDS agreements were relevant for at least two reasons: the license defense and the scope

    of BenQ's right to access technical documents relevant to infringement issues. The MOU was

    particularly relevant because it suggested that both of the parties to the agreement had a right of

    access to certain technical documents. BenQ told the Court that it had searched for a signed copy

    of the MOU but had not located one. BenQ thus represented, again, inaccurately, that the MOU had

    never been executed. Although the plaintiffs were skeptical, the Court informed the plaintiffs that

    BenQ could only produce what it had and suggested that the Court would address the issue further

    if a signed copy eventually surfaced.

            With respect to the dismissal of the third-party lawsuit against PBDS and Philips, the

    defendants informed the court that no documents existed which related to that dismissal, and

    specifically, that they had withheld no such documents as privileged. See Transcript of March 2,

    2005, Hearing at 38 ("And if we did withhold anything, we have a log in this case, and any

    documents would be in the log. There aren't any."). As to the Pioneer and Philips documents, the

    defendants contended that prior to the formation of the PBDS joint venture, BenQ purchased drives

    from both Pioneer and Philips and resold those drives. In response to the Court's questioning

    concerning whether BenQ could request the documents from Pioneer and Philips, the defendants

    contended they had made such requests and those requests had been refused. Although the plaintiffs

    expressed doubts as to the accuracy of these statements, based on the Court's review ofthe filings

    made in the case at that time, the Court did not order any further sanctions. The Court assumed

    (incorrectly it turns out), that in light of the signed verifications, the defendants had made a diligent


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    search for all documents, that the requested materials within the defendants' possession, custody,

     or control had been produced, and that, to the extent the documents had not been produced, they did

    not exist. As the Court has emphasized previously, six months had elapsed from the date of the

    scheduling conference, and the defendants had filed sworn declarations attesting to the diligence

    undertaken to search for and produce all relevant documents.

            After the Court's March 2nd hearing, the plaintiffs sought to take several depositions.

    Immediately prior to the depositions, BenQ produced an additional 39 boxes of documents. None

    of the deponents could testity as to the specific contents of the boxes, the extent to which the

    production came from third parties, when the production first came into the possession ofBenQ, or

    what efforts had been made to request or secure the production from third parties. Included among

    the documents was a signed copy of the MOU that the defendants previously represented did not

    exist, copies of documents relating to the PBDS joint venture, and various technical documents. Not

     surprisingly, the production of 39 boxes of documents over a month after the defendants had sworn

    that diligent efforts had been made to locate and produce documents prompted the plaintiffs to move

    for sanctions and to file an additional orunibus motion to compel. At approximately the same time,

    the defendants filed various motions of their own complaining of various discovery transgressions

     committed by the plaintiffs.

            On May 23,2005, the Court conducted its third hearing. As relates to this issue, the plaintiffs

    presented a motion for sanctions as a result of discovery misconduct and requested a judgment of

     infringement. The Court found that BenQ had stonewalled discovery in bad faith. Several events

     led the Court to conclude that BenQ's approach to discovery fit that description.

            First, with respect to the signed MOU, the Court suggested at the May 23,d hearing that it


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     doubted tbe signed copy of the MOD to be a "critical" document in the case, or one on which

     liability would ultimately depend. It was, however, a relevant document to issues in the case, and

     the defendants represented to tbe Court tbat the document did not exist witbout ever confirming that

     fact with the other party to tbe joint venture. This despite the plain language of the joint venture

     agreement which suggested the parties had entered an MOD. Although BenQ suggested tbat it

     suffered great embarrassment when it approached Philips and questioned whether tbe document

     existed, BenQ did not show why it neglected to approach Philips (and suffer the same

     embarrassment) before it represented to tbe court at tbe March 2nd hearing that no such document

     existed. Indeed, at tbat hearing, in response to tbe Court's questions concerning documents in tbe

     possession of Pioneer, Philips, and the PBDS joint venture, the defendants expressly represented tbat

     they had requested documents from those entities and had been refused.

            With respect to the documents relating to tbe dismissal of the third-party claim against

     Philips and PBDS, the defendants had previously represented that no such documents (privileged

     or otberwise) existed. However, after the representations to tbis effect had been made at tbe March

     2,2005, hearing, the defendants finally conducted a search that uncovered several emails between

     Philips and BenQ regarding the filing ofthe PBDS claim and tbe dismissal tbereof. This search was

     ostensibly in response to one of tbe plaintiffs' new document requests. Again, contrary to tbe

     representations made at tbe March 2, 2005, hearing, several emails relating to the filing of and tbe

     dismissal of tbe tbird-party claim did exist. It was not until tbe plaintiffs made a more specific

     request for the materials that tbe defendants undertook a more detailed search which ultimately

     uncovered the emails.

            Finally, with respect to the bulk oftbe materials in the 39 boxes, BenQ' s counsel represented


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    at the May 23'd hearing that those documents were relevant technical documents (although not

    necessarily "critical" documents) that had been obtained from PBDS files. According to counsel's

    explanation to the court on May 23,2005, BenQ (which is a 49% owner of the PBDS joint venture

    with Philips), made no effort to search PBDS files initially because the employees of BenQ treat

     PBDS files and BenQ files differently. Counsel suggested that BenQ was finally able to obtain the

    documents after persuading PBDS to release its documents for production to the plaintiffs. One of

    the primary contacts at PBDS was Mr. T.T. Chen. Mr. Chen, until at least December 2004, was an

    employee of BenQ. The Court found that it incredible that BenQ could not "persuade" Mr. Chen

    to release these documents until April, 2005, when BenQ owns 49% of the PBDS joint venture.

    Again, it bears mention that as of March 2, 2005, BenQ had represented it had searched for and

    produced all of the relevant documents in this case. Indeed, contrary to the position taken at the May

     23,d hearing that BenQ had not looked in the PBDS files because BenQ viewed PBDS to be a

     different company, BenQ's counsel represented on March 2nd that " ... I can assure the Court that

     we raised this exact issue in going to PEDS and producing any of the joint venture-related

     documents with the clients since February 4 .... " Transcript of March 2, 2005, Hearing, at 27, 11.

     11-14 (emphasis added).

            At the May 23'd hearing, the Court was persuaded that BenQ had not performed a diligent

     search forrelevant documents within its control. It is well-settled that a party is obligated to produce

     documents within its control, and its obligations are not limited to those documents within the

     party's physical possession. Rosie D. v. Romney, 256 F. Supp. 2d liS (D. Mass. 2003); Triple Five

     ofMinn., Inc. v. Simon, 212 F.R.D. 523 (D. Minn. 2002); Comeau v. Rupp, 810 F. Supp. 1172 (D.

     Kan. 1992). "Control" does not require that a party have legal ownership or actual physical


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     possession of the documents at issue; rather, documents are considered to be under a party's control

     for discovery purposes when that party has the right, authority, or practical ability to obtain the

     documents from a nonparty to the suit. Bank ofN Y. v. Meridien BlAG Bank Tanzania Ltd., 171

     F.R.D. 135 (S.D.N.Y. 1997). BenQ's counsel was undoubtedly aware of this rule and expressed his

     understanding of it in the March 2, 2005, hearing. Transcript of Hearing, p. 29, ll. 7-21 (The Court:

     So you understand, the Court considers in your control to be more than physically in your possession.

     You understand that don't you? Mr. Risley: Yes, sir .... ). What became apparent during the May

     23,2005, hearing was that BenQ failed to discharge its obligations before representing to the Court

     it had produced all relevant documents.

            Based on the evidence presented at the May 23, 2005, hearing, the Court found that BenQ

     misrepresented the status of its efforts to comply with its discovery obligations during the March 2nd

     hearing. BenQ failed to conduct a diligent search to identify and produce documents in its

     possession, custody, or control, including documents which may have been in the technical, physical

     possession of a legally distinct entity. These documents include the signed MOD agreement, the

     emails relating to the dismissal ofthe third-party claim (whether privileged ornot), and the technical

     documents obtained from the PBDS joint venture. The Court further found that BenQ made no

     inquiry of Philips to confirm that no signed copy of the MOD existed prior to representing to the

     plaintiffs and the Court that the MOD had not been executed. The Court also found that BenQ made

     no reasonable search for documents relating to the dismissal of the third-party action against Philips

     andPBDS.

            With respect to the documents produced from PBDS, the Court found that BenQ failed to

     conduct a diligent effort to obtain documents relating to the PBDS joint venture and failed to search


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     for and obtain documents over which BenQ had the right of control and access, including documents

     in the physical possession of employees of the PBDS joint venture. To this end, the documents

     relating to the PBDS joint venture are (and always have been) within the control of BenQ for

     discovery purposes because BenQ has a 49% ownership interest in the joint venture. Pursuant to the

     terms of the joint venture agreement, BenQ has the right to appoint members to the board of

     directors. Under the testimony at the hearing, BenQ's employees in the Design House regularly

     access documents of the joint venture in the course ofBenQ's business. That T.T. Chen was the

     contact person from whom many of the documents were obtained solidified the Court's findings on

     this issue. T.T. Chen was, during the pendency of this case (and throughout much of the time that

     BenQ should have been searching for and producing documents), an employee ofBenQ. The court

     simply would not pennit BenQ to reassign its employees to PBDS and then rely on that reassigmnent

     to avoid its production obligations in this case.

            At the conclusion of the May 23, 2005, hearing, the Court denied the plaintiffs request for

     death penalty sanctions, but issued further sanctions. These sanctions resulted from the failure of

     the defendants to bring themselves into compliance with the Court's orders issued at the February

     4, 2005, hearing and for misrepresenting the status of the efforts to search for and produce

     documents at the March 2, 2005, hearing. The Court ordered that the defendants would have one-

     third less time than the plaintiffs would have to address the jury in voir dire, opening statement, and

     closing argument. The Court also awarded the plaintiffs their attorneys fees incurred in presenting

     the motion. Any further relief sought by the motion for sanctions presented at the May 23'd hearing

     was denied.'


            4   These sanctions remain in effect.

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     3.     Discovery Issues Ideutified in Reports to the Court.

            The court will now turn to the discovery issues that emerged after the May 23,2005, hearing,

     which necessitated the Show Cause Hearing.            On May 27, 2005, the plaintiffs forwarded

     correspondence to the Court and explained what discovery was still outstanding from BenQ

     Corporation and from BenQ America. As against BenQ Corporation, the requested discovery fell

     into three broad categories: technical information, financial information, and collection of

     documents.      As to technical documents, the plaintiffs identified 6 areas: (1) disc

     recognition/discrimination, as implemented in the PBE Purple Basic Engine Project; the Data Ref

     5 Project; and the Data 3 Basic Engine Project; (2) start up procedure and subroutines for all DVD

     drives as exemplified for the Data-3 bit Engine in the document identified as BQC098438-098473;

     (3) BenQ Design House documentation of theory of operation for source code of all DVD drives in

     relation to disc recognition/discrimination, inc1udingDVD single layer/dual layer determination; (4)

     source code and related design documentation for disc recognition/discrimination in all DVD drives,

     including subroutines identified as "servo.c," "focus.c," "svr_disc.c," and "disked.c" in BenQ's

     supplemental responses to Interrogatory no. 4; (5) BenQ Design House implementation of servo

     control hardware implementing disc recognition/discrimination in all DVD drives; and (6) samples

     ofall non-commercially available DVD drives, including those designated 1040A; 1640A2; 1648M;

     2212DW; l640T6; DW1600; 1640A; 1648A; 2108VR;8032EP; OPAL; CB482B; EW1621; and

     DW822A. The plaintiffs also requested 30(b)(6) witnesses to testifY as to these areas, as well as the

     depositions of Andy Y.c. Song and Jerome Wu Stoic.

            With respect to damages discovery sought from BenQ Corporation, the plaintiffs' May 27'h

     letter sought seven categories of information: (1) the identification of the number ofDVD drives,


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     differentiated by model and year, which BenQ has sold to Philips, PBDS, BenQ America and third

     parties, imported into the United States, offered for sale, and transported to Philips, PBDS, BenQ

     America and third parties; (2) the identification ofthat operating income realized by BenQ in the sale

     ofDVD drives; (3) the identification of those costs incurred by BenQ in the sale of the DVD drives;

     (4) documents relating to BenQ's third party claim against PBDS and Philips; (5) documents

     evidencing BenQ's license negotiations with third parties; (6) the identification of all DVD drives

     sold, offered for sale, transported to the United States, and imported to the United States; and (7) the

     identification of whether BenQ obtained an opinion of counsel in this case, and when it was

     requested. As in the technical areas, the plaintiffs sought a 30(b)(6) witnesses to testify on these

     SUbjects.

             Third, the plaintiffs sought discovery into BenQ Corporation's efforts to collect documents.

     Specifically, the plaintiffs sought documents evidencing when BenQ received documents from

     PBDS, Philips, and Pioneer, and documents evidencing when BenQ made requests on any third party

     for the production of documents in this case. Likewise, the plaintiffs sought a 30(b)(6) witness to

     testify as to BenQ's efforts to obtain documents in this case from PBDS and all third parties.

            With respect to BenQ America, the plaintiffs sought discovery into two areas-technical and

     fmancial. Specifically, the plaintiffs' May 27th correspondence requested technical discovery with

     respect to drives sold, offered for sale, or imported into the United States by BenQ America to the

     extent the drives were different from those addressed in connection with BenQ Corporation. As to

     financial discovery, the plaintiffs desired a full and complete response to Interrogatory Nos. 8,15,

     16, and 17.    The plaintiffs also demanded an identification of the number of DVD drives,

     differentiated by model and year, which BenQ America has sold, imported into the United States,


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    and offered for sale.      As to these categories of financial infonnation, the May 27, 2005,

     correspondence indicated a need for 30(b)(6) depositions on damages. The correspondence also

    stated that no depositions of BenQ America (presumably on technical issues as well) had been

    condncted.

            On July 13, 2005, the defendants' new counsel sent correspondence to the court in response

     to the plaintiffs' motions to compel and the plaintiffs' May 27th report. Although the July 13th letter

     itemizes several distinct responses, the court attempted to distill those responses to correspond to the

    plaintiffs' requests. In addition, on July 27,2005, the plaintiffs responded to the defendants' July

     13 th correspondence. In light ofthese events, the court issued various orders, to the extent possible,

    on the items identified in the plaintiffs' May 27th correspondence. These orders specifically required

    defendants to produce various categories of documents that should have been produced more than

     six months earlier, to the extent these documents had not been previously produced.

            Of particular importance, the Court found that docmnents evidencing when BenQ requested

    and received documents from third parties were discoverable given the history of this case and

     ordered that they be produced. Notwithstanding this, and other, rulings, the plaintiffs' July 27th

     correspondence sets forth several areas which, even in light of the representations made by the

     defendants' July 13 th letter, needed to be addressed by this Court. The plaintiffs continued to assert

    that BenQ had not produced technical docmnents relating to certain drives manufactured by Pioneer

     and Philips, although the plaintiffs noted that BenQ witnesses had suggested that Philips and Pioneer

     have never "refused" a demand for technical documents by BenQ. The plaintiffs also stated that the

     defendants were continuing to produce materials that should have been produced no later than

     February, 2005, when the defendants had stated they had undertaken a diligent search for docmnents.


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     The correspondence reflects that the plaintiffs were prejudiced in taking their damages depositions

     because of the late supplementation of interrogatory responses. Finally, and most troubling, the

     plaintiffs contend that the defendants recently disclosed that they have been selling and offering for

     sale in the United States since 2004 seven additional models ofDVD drives.'

                The court fITst considers the production (or lack thereof) of technical documents showing the

     operation of drives manrrfactured by Philips and/or Pioneer. Throughout this case, BenQ has taken

     the position (wrongly, as it turns out) that it has no control over documents in the possession of

     certain third parties. BenQ has affinnatively represented that drives sold by BenQ prior to the

     fonnation of the PBDS joint venture were manufactured by either Pioneer or Philips. For several

     years, BenQ purchased and sold large quantities of these drives. Given this relationship, the

     plaintiffs have consistently doubted that BenQ does not have access to or the legal right to demand

     documents demonstrating the operation of those drives. At the Febrnary hearing, the Court

     suggested that it had confronted similar arguments, and that, if need be, the Court would question

     the corporate representative with the most knowledge of the commercial relationships between the

     parties.

                The plaintiffs suggested in their July 27'h letter that sufficient evidence existed for the Court

     to sanction BenQ for its failure to produce technical documents from Pioneer and Philips. The

     plaintiffs offered testimony from BenQ's witnesses which suggested that those witnesses were

     unaware of any situation in which Pioneer or Philips refused a demand for documents. But


             , Depending on how one reads counsel's July 27,2005, correspondence, the defendant
     disclosed the existence of these drives either on July 8, 2005 or in supplemental responses to
     interrogatories served on July 12, 2005. This distinction is not material. Either way,
     interrogatories requesting this infonnation were originally propounded to BenQ Corporation on
     September 15, 2004, and to BenQ America on December 16, 2004.

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     commercial cordiality is not the same as control in the sense required to hold BenQ responsible for

     documents in the possession of these third parties. Thus, although the plaintiffs had not persuaded

     the Court that the Pioneer and Philips documents referenced in counsel's July 27th letter were

     necessarily within the control of BenQ, neither was the record sufficient to reach a contrary

     conclusion. This Court was therefore persuaded that BenQ should sponsor a witness (or witnesses)

     to answer the Court's inquiries as to the commercial relationship between these parties so that the

     Court might detenuine with some assurance the scope of technical documents that fall within the

     controlofBenQ.

            The most troubling aspect of the plaintiffs' July 27 th correspondence was the plaintiffs'

     statement that BenQ recently identified seven additional models of drives sold in the United States

     since 2004. Quite obviously, this information did not come to BenQ from a third party-it is BenQ

     who has been in possession of this information. 6 Moreover, the identities of drives sold into the

     United States have been at issue since the very first discovery requests served by the plaintiffs. As

     the Court previously found, all that follows depends on an accurate identification of the models of

     drives sold into the United States.

     4.     3'· Party Access/Control

            The level of control of, and access to, Philips and Pioneer documents has been directly

     relevant to this case. It is not disputed that some of the Accused Products were manufactured by

     Philips and Pioneer. At numerous times during discovery and in hearings before this Court, BenQ


             6 BenQ's obligations were to search for and disclose all relevant materials long ago. The

     court granted BenQ a reprieve until early March, 2005, to bring itself into compliance with the
     court's orders and the plaintiffs' discovery requests. BenQ represented it had conducted diligent
     searches for documents, yet it continues to locate and produce materials it should have produced
     long ago.

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     represented that it did not have control ofnon-BenQ technical documents and that it had requested

     these documents but had been told "no." After reviewing the documents submitted by BenQ, and

     in light of witness testimony, the Court finds that BenQ misrepresented its efforts to search its own

     records, misrepresented its efforts to collect documents from third parties, misrepresented its

     relationship with Philips, and engaged in activities with Philips in an effort to circumvent this

     Court's Amended Discovery Order7

            A.       Informal Technical Document Requests

            As part ofthe Court's order, BenQ was ordered to produce emails from technical personnel

     at BenQ requesting technical information from Pioneer or Philips. Based solely on the emails

     produced, the Court fmds that BenQ did not have "control" of Pioneer documents. The vast majority

     of requests for technical information to Pioneer from Ben Q occurred in the 200112002 time frame.

     Further, the limited number of emails (approximately 50 over a six year period) does not represent

     a continuous and freely sharing relationship between the companies that would indicate that BenQ

     could get Pioneer's technical documents upon request.

            The relationship with Philips is markedly different. First, rather than 50 emails, BenQ

     produced over 700 emails to and from BenQ to Philips. There are emails evidencing that, after the

     initiation of litigation, Philips provided to BenQ technical manuals, software, firmware, scripts,

     testing data, comparison/analysis of products, trouble shooting issues, etc. In an effort to show that

     BenQ did not have unfettered access to Philips' technical documents, BenQ offered three to four

     emailswhere Philips denied a request. However, this does not excuse BenQ' s obligation to gather

     and produce what information Philips would produce. Even more importantly, Mr. Lester Chen, a


            7   Based on the evidence, the Court does not make the same finding as to Pioneer.

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     Senior Manager of Optical Storage for BenQ Corp., stated that when BenQ infonnally requests

     technical infonnation and documents Philips complies 90% of the time. August 30,2005 Transcript

     at 161:1-14. The 700 emails and the testimony of Mr. Chen evidence that BenQ had the practical

     ability, i.e. control in the ordinary course of husiness, to gather large qnantities of technical

     documents from Philips.

            Moreover, effective August, 2002, Philips and BenQ entered into a Network Access

     Agreement. This agreement provides BenQ with access to parts of Philips' intranet and internal

     network, wherein the access is directly linked to the business as described by the MOU. Mr. Chen

     testified that the Network Access Agreement allows BenQ to access source code and problem reports

     related to the DW series ofDVD drives. August 30, 2005 Transcript at 155:21-157:4. However,

     not only did BenQ not produce the DW series source code until well after the deadline set out in the

     Court's Amended Discovery Order and after BenQ repeatedly represented to this Court that it did

     not have access to Philips' technology, the Network Access Agreement itself was not produced until

     the Show Cause Hearing. August 31,2005 Transcript at 25:11-14.

            In light of the 700+ emails, the testimony ofMr. Chen, and the Network Access Agreement,

     the Court finds that BenQ had the practical ability, and therefore the requisite control, to gather and

     produce technical documents from Philips. That BenQ did not even attempt to gather Philips

     technical documents until June/July of2005 flagrantly disregards this Court's discovery orders and,

     importantly, flies in the face of repeated representations to the Court to the contrary.

            B.      Fonnal Requests for Technical Infonnation

            The Court will begin its history of the fonnal requests for technical infonnation by BenQ

     after March 2, 2005, as very little, if anything, was requested from Philips and Pioneer by BenQ prior


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     to that date.' At the March 2, 2005, hearing, BenQ represented to the Court that, in light of the

     Court's orders and interpretations of control, BenQ would subpoena Philips and Pioneer for technical

     documents. March 2, 2005 Transcript at 29: 11-16.

            According to the written record and the testimony ofBenQ representatives, June 16,2005,

     was the first time that any BenQ representative requested technical documents from Philips or

     Pioneer related to the litigation. The results from the subpoenas provide a clear picture ofBenQ's

     attempts to evade its discovery obligations.

            On July 1,2005, Hans Pennings of Philips sent correspondence to Linh Ha ofBenQ wherein

     Pennings expresses frustration with having Philips served with a subpoena. According to Pennings,

     "[w]e are actively assisting BenQ to achieve a settlement with LaserDynamics .... It would be

     better still if you withdraw the subpoena, and just request relevant information from me directly."

     BQ-CT 002226 (emphasis added). That same day, Linh Ha responded to Pennings by asking him

     to have someone contact Ha about the subpoena: "In short, this process has been forced upon us by

     the court and the demands of Laserdynamics lawyers." Pennings responded to Ha by stating: "[i]n

     that case, I assume you have no objection that we refuse to accept service, and will let this go

     through the Hague Convention if you or Laser Dynamics decide to pursue the matter." BQ-CT

     002225. Telephone records also indicate that on the same day, contact was made between Linh Ha


               8 On December 18,2003, BenQ requested, successfully, a letter from Philips stating that

     it is licensed under the '981 patent in suit. On February 28,2005, BenQ was provided a copy of
     the license agreement Pioneer had as well. Yet, at the hearing on March 2, 2005, BenQ
     represented that it had requested information from Philips and Pioneer and been told no. The
     Court finds that the only requests for infonnation from BenQ to Philips and Pioneer prior to the
     March 2, 2005 hearing related to license agreements and that no requests for technical documents
     were made. Moreover, far from saying "no," the Court finds that the requests made to Philip and
     Pioneer were granted. Thus, BenQ misrepresented to the Court not only what was requested but
     also misrepresented the responses from Philips and Pioneer.

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     and Jack Slobod at Philips.

            A little over a month later, on August 9, 2005, Daniel Sharp of Wilson Sonsini, counsel for

     BenQ, sent a letter to Matt Rodgers of Vinson & Elkins, who represents Philips. Mr. Sharp noted

     in his letter that Philips' responses to the June 16,2005, subpoena were overdue and inquired if

     Philips intended to produce any documents. On August 15, 2005, Mr. Rodgers responded to Mr.

     Sharp by contending that the subpoena was defectively issued and served and that therefore Philips

     would not be producing any documents, stating "[a]t this point in time, Philips is not inclined, as a

    non-party to this litigation, to voluntarily comply with informal document requests or an invalidly

     issued and invalidly served subpoena."

            Thus, the Court finds that BenQ did not make any requests for documents to Philips from

    December 18, 2003 to March 29, 2005, except for a letter from Philips stating that BenQ was

     licensed as a customer of the PBDS joint venture. Further, even though BenQ represented it would

     serve a subpoena on March 2, 2005, no subpoena was sent until June 16,2005. Further, the Court

    finds that, based on Pennings' email ofJulyl.2005.Philips stood ready to assist BenQ in collecting

    responsive documents. Moreover, the Court fmds that the correspondence between Philips and

    BenQ in July, 2005, evidences that Philips assisted BenQ in not complying with this Court's

    discovery obligations.'

            The Pioneer requests follow a similar time line. First, the Court notes that at the March 2,

     2005 Hearing, BenQ produced documents to the Court wherein BenQ stated that it could not get

    documents from Pioneer because Plaintiffs refused to give Pioneer permission to release the

     documents. There were two misrepresentations made on that issue in the hearing. First, BenQ never


            , This finding is not intended to bind Philips. Philips is not a party to this suit.

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     requested anything of Pioneer outside of the license agreement between Pioneer and

     LaserDynamics. lO Secondly, it appears that all requests were granted by February 28,2005, which

     was before the March 2, 2005. In either event, the Court finds that BenQ continued to engage in

     misrepresentations to the Court and in discovery abuse.

             Following the March 2, 2005 Hearing, BenQ engaged in no efforts whatsoever to gather or

     request technical documents from Pioneer until June 16, 2005. On that date, BenQ served a similar

     subpoena on Pioneer as it did on Philips requesting various technical and fmancial documents. On

     July 5,2005, attorneys from Wilson Sonsini infonned Pioneer that they were now representing BenQ

     and in letter fonn reiterated the requests for documents.

            On July 7, 2005, attorneys for Pioneer served general objections to the subpoena, but noted

     that it would be searching for responsive documents. A week later and for no apparent reason, the

     letters between the parties take a different tone. First, Pioneer's attorneys take the position that the

     subpoena was not properly served and stated that new objections will be served within the week.

     The letter does go further to state that even though Pioneer is not a party to the litigation and has no

     obligation to produce any documents, it would, subject to objections, provide responsive documents.

     However, as of August 30-31,2005, Pioneer still has not produced a single document requested from

     the June 16,2005, subpoenas.

            C.       Shipments and Banking Infonnation from BenO Corp.

             The Show Cause Hearing was also focused on discovering why BenQ did not identify 7 DVD

     drives until June/July of2005 even though many of those drives existed in Fall of2004. Two issues


             10BenQ's behavior has become clear. BenQ only requested from Pioneer and Philips
     those limited number of documents it wanted to help its perceived defense without requesting
     other documents related to claims or defenses in the litigation.

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     arose out of that issue: (I) the level of effort BenQ Corp. took in meeting its discovery obligations

     and (2) the "real" relationship BenQ has with PBDS. During the hearing, BenQ stated that it did not

     discover the 7 drives earlier because they did not appear in BenQ America's sales records.

            However, on cross examination, BenQ was presented with an invoice showing a sale oB, I 00

     drives in September, 2004, of one of the newly identified DVD drives. BenQ was questioned about

     why this information was not included in the sales data provided to Plaintiffs and why these drives

     were not identified. BenQ stated that these new drives were not discovered earlier because searches

     of sales records were only done for BenQ America. BenQ admitted that it did not do a search of

     BenQ Corp. sales or shipping records at all until June/July, 2005, or ten months after the deadline

     set under this Court's discovery orders. Shipping and sales records from BenQ Corp. have been

     relevant since the inception of the suit as Plaintiffs have asserted claims of infringement and

     inducement of infringement. Further, the Court fmds that if BenQ had performed the requisite

     searches, it would have found most of the newly identified drives in the fall of 2004 11 BenQ's

     choice not to even make a cursory search of its records violates this Court's discovery orders and has

     consequences.

            Moreover, BenQ was also questioned on whether the invoice was accurate in that it had a sale

     from BenQ Corp. to BenQ America. BenQ representatives testified on August 30, 2005, that even

     though the invoice said BenQ Corp., it was really a sale by PBDS because all sales to BenQ America

     were done through PBDS after 2003. The defendants essentially stated that the invoice was not

     accurate and that the payment was to PBDS and not BenQ Corp.


            11  The Court also notes that in 2004 and 2005, BenQ shipped or sold nearly 900,000 of
     the newly identified drives. BenQ's representations that these drives were small in number as a
     basis for not knowing of them is simply implausible.

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            On the following day, the defendants changed their position. BenQ stated that the sale was

     made from BenQ Corp. to BenQ America. However, BenQ represented that BenQ Corp. handled

     the payment of sales for PBDS and indicated, but did not outrightly say, that PBDS had access to

     BenQ Corp.' s account. The Court was unconvinced by this change in testimony and demanded that

     BenQ provide to the Court a list of all persons and entities who have access to the account listed on

     the September invoice.

            On September 23, 2005, BenQ filed submissions with the Court that allegedly explain the

     September, 2004, invoice and the methods ofhandling sales to BenQ America from BenQ Corp. and

     PBDS. In the September 23, 2005, submission, BenQ represents that BenQ America purchases its

     drives from PBDS through a "netting arrangement.,,12 The netting arrangement allegedly works in

     this manner:

            BenQ America orders DVD drives from PBDS or BenQ Corp. BenQ Corp. then
            ships the drives directly from its facilities to BenQ America. BenQ America then
            pays BenQ Corp. - not PBDS - for the DVD drives by wiring the money to BenQ
            Corp.' s Citibank account. After receiving the payment, BenQ Corp. will then pay
            PBDS for the "net" difference between the sales price for the DVD drives sold from
            PBDS to BenQ America and the sales price for the DVD drives sold from BenQ
            Corp. to PBDS.

            The Court notes that this information would provide strong evidence supporting Plaintiffs'

     position that BenQ's sales through PBDS are "sham" sales and that the PBDS license defense is an

     impermissible sub-license. Even more importantly, none ofthis banking evidence was everprovided

     to the Plaintiffs or the Court until well after two sununary judgment motions had been filed on the

     issue by the defendants. Once again, BenQ has engaged in discovery misconduct, misrepresented


             12 The Court notes that the "netting arrangement" was not produced to the Court. Thus,
     either BenQ is (1) not producing a highly relevant document or (2) alleging a defense based in
     part on a verbal agreement between BenQ Corp. and PBDS.

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     facts to this court in its motion for summary judgment, and violated this Court discovery orders.

     5.     The Law on Sanctions

            Federal Rule of Civil Procedure 37 authorizes sanctions for failure to comply with discovery

     orders. This Court may bar the disobedient party from introducing evidence, or it may direct that

     certain facts shall be "taken to be established for purposes of the action ... " Rule 37 also permits

     this Court to strike claims from the pleadings and even to "dismiss the action ... or render a

     judgment by default against the disobedient party." Roadway Express, Inc. v. Piper, 447 U.S. 752,

     763 (1980). "Rule 37 sanctions must be applied diligently both 'to penalize those whose conduct

     may be deemed to warrant such a sanction, [and] to deter those who might be tempted to such

     conduct in the absence of such a deterrent. '" Id. at 763-64.

            Rule 37(b)(2) sanctions requires that any sanction be just and that the sanction must be

     related to the particular claim which was at issue in the order to provide discovery. Compaq

     Computer Corp. v. Ergonome Inc., 387 F.3d 403,413 (5th Cir. 2004) (citations omitted) (sanction

     was a fmding of alter ego rooted in party's behavior regarding discovery related to the alter ego

     issue). Further, the penalized party's discovery violation must be willful. United States v. $49, 000

     Currency, 330 F.3d 371,376 (5th Cir. 2003). Finally, a severe sanction under Rule 37 is only to be

     employed where a lesser sanction would not substantially achieve the desired deterrent effect. Id.

            This Court also has inherent powers to enter sanctions. The inherent powers of this Court

     are those which "are necessary to the exercise of all others." Roadway Express, 447 U.S. at 764.

     The most prominent of these is the contempt sanction, "which a judge must have and exercise in

     protecting the due and orderly administration ofjustice and in maintaining the authority and dignity

     of the court[.]" Id. The inherent power includes the power of the court to control its docket by


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     disrnissing a case as a sanction for a party's failure to obey court orders. Juul v. Fed. Express, 260

     F.3d 622 (5th Cir. 2001). However, when inherent powers are invoked they must be exercised with

     "restraint and discretion." Gonzalez v. Trinity Marine Group, Inc., ll7 F.3d 894, 898 (5th Cir.

     1997). Thus, severe sanctions should be confmed to instances of "bad faith or willful abuse of the

    judicial process." Id. In any event, when parties exploit the judicial process, a court may sanction

     conduct beyond the reach of other rules. Natural Gas Pipeline v. Energy Gathering, Inc., 2 F.3d

     1397, 1407 (5th Cir. 1993).

     6.      The Court's Findings and Sanctions

             The Court fmds that BenQ has made repeated misrepresentations to this Court concerning

     the extent to which it has searched for records and attempted to obtain records from third parties

     Pioneer and Philips. Moreover, the Court finds that Philips has an absolute right to lodge objections

     to a subpoena. However, Philips does not have the right to aid or abet a party to litigation in this

     Court from compliance with the orders of the Court. The Court takes no action against Philips as

     it is not a party to this case, but the Court is on notice of Philips' willingness to engage in such

     activity.

             Further, the Court finds that BenQ has known since the filing of its first motion for summary

    judgment that the relationship betweenBenQ, Philips, and PBDS was extremely relevant to this case.

     BenQ Corp. has made a conscious decision not to search its own records for documents, which

     would have revealed shipments (and sales) of products by BenQ into the United States. These

     records, which should have been produced more than eight months ago, were relevant both to the

     relationship between BenQ, Philips and PBDS, as well as the Plaintiffs' claims for inducement.

             Further, the Court finds that BenQ has made repeated misrepresentations in its moving papers


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     and before the Court in hearings regarding the relationship between BenQ and PBDS and the method

     in which sales are handled. This information was never accurately provided to Plaintiffs and instead

     was a moving target based on what the evidence needed to be to support a license defense.

            BenQ's conduct leading up to and during the Show Cause Hearing, coupled with the conduct

     ofBenQ previously found by the Court to have occurred, demonstrates a conscious intent to evade

     the discovery orders of this Court, as well as violate this Court's orders and the rules to an extent

     previously unknown by this Court. The Court has already issued lesser sanctions on two separate

     occasions in an effort to get Defendants to comply with this Court's rules.

            Accordingly, while the Court does not strike Defendants' pleadings in their entirety,13 the

     Court does hereby strike any defense raised by BenQ related to the Philips/LaserDynamics license

     agreement pursuant to Fed. R. Civ. P. 37 and the Court's inherent powers. This sanction is tied

     directly to the numerous willful and bad faith misrepresentations made to this Court regarding the

     relationship between the entities and the requests for documents from Philips and Pioneer. Further,

     this sanction is warranted in light of the attempt to mislead the Court regarding bank accounts and

     sales ofDVD drives to BenQ America.

            Pursuant to Fed. R. Civ. P. 37, the Court further awards to the Plaintiff its attorney's fees and

     costs incurred in attending the show cause hearing. Finally, pursuant to the Court's inherent powers,



             13 Based on the record, striking of Defendants' pleadings in their entirety would be
     warranted. However, in light of Defendants , efforts to enter into a product stipulation agreement
     to minimize the prejudice to Plaintiffs from the eleventh hour identification of new DVD drives,
     this Court will refrain from entering a "death penalty" sanction. Moreover, the Court believes
     that the lesser sanction of striking a single defense as opposed to the entirety of Defendants'
     pleadings will result in professional behavior from Defendants moving forward. Defendants are
     forewarned, however, that continued discovery abuse, violation of court orders, and
     misrepresentations to the Court will result in a striking of Defendants' pleadings in their entirety.

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     this Court also issues a monetary sanction in the amount of $500,000 to be paid to the Fines and

     Restitutions Account of the Court within 30 days of the entry of this Amended Memorandum

     Opinion and Order for the willful disregard of this Court's Discovery Orders. I' The undersigned

    judge must protect the integrity of this Court. While BenQ has been required to pay attorneys' fees

    for earlier motions to compel and for sanctions, these smaller sanction have failed to correct BenQ' s

    behavior before a United States District Court. In light of the hundreds of millions of dollars

     generated by BenQ through the sales ofDVD drives, a sanction of $500,000 is modest. The Court

    hopes, however, that this represents the last sanction that must be entered against BenQ in this case.

            SIGNED this 6th day of October, 2005.




                                                   UNITED STATES DISTRICT JUDGE




            14 This sanction is both a deterrent and a punishment for BenQ. Further, this Court's
     docket includes 60+ active patent cases that are subject to many of the same discovery issues.
     This sanction will hopefully also act as a deterrent to other patent litigants that might consider
     engaging in similar behavior. See Roadway Express, Inc. v. Piper, 447 U.S. 752, 764 (1980)
     (noting that sanctions must be applied "to deter those who might be tempted to such conduct in
     the absence of such a deterrent. ").

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Jeff Rambin

From:                      Jeff Rambin
Sent:                      Wednesday, January 20, 20104:47 PM
To:                        'Dan_Herp@playstation.sony.com'
Cc:                        'Michael Ng'
Subject:                   Cell Numbers


Dan

Sorry we're playing phone tag this evening. My cell is (903) 520-5789. Mike Ng's is (415) 260-3583. I gave Mike the
highlights of our earlier conversation, so you may call either of us.

Thanks,
Jeff

Jeff Rambin
CAPSHAW DERIEUX, LLP
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Fax:    (903) 236-8787

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